           Case 14-22759          Doc 1     Filed 06/18/14 Entered 06/19/14 00:00:34                  Desc Main
                                              Document     Page 1 of 34
FB 201A (Form 201A) (06/14)


                                    UNITED STATES BANKRUPTCY COURT

                              NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                       OF THE BANKRUPTCY CODE

         In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
            Case 14-22759           Doc 1    Filed 06/18/14 Entered 06/19/14 00:00:34                   Desc Main
                                               Document     Page 2 of 34
Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
that the debt is not discharged.

         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total fee $310)
         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

         Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
an attorney.

         Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
             Case
B201B (Form 201B)     14-22759
                  (12/09)            Doc 1       Filed 06/18/14 Entered 06/19/14 00:00:34                          Desc Main
                                                   Document     Page 3 of 34
                                               United States Bankruptcy Court
                                          Northern District of Illinois, Eastern Division

IN RE:                                                                                            Case No.
Claudio, Jose A Jr.                                                                               Chapter 7
                                           Debtor(s)

                               CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                   UNDER § 342(b) OF THE BANKRUPTCY CODE

                                 Certificate of [Non-Attorney] Bankruptcy Petition Preparer

I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
notice, as required by § 342(b) of the Bankruptcy Code.


Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
Address:                                                                                         petition preparer is not an individual, state
                                                                                                 the Social Security number of the officer,
                                                                                                 principal, responsible person, or partner of
                                                                                                 the bankruptcy petition preparer.)
                                                                                                 (Required by 11 U.S.C. § 110.)
X
Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
partner whose Social Security number is provided above.

                                                       Certificate of the Debtor

I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



Claudio, Jose A Jr.                                                    X /s/ Jose A Claudio Jr.                                     6/18/2014
Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


Case No. (if known)                                                    X
                                                                           Signature of Joint Debtor (if any)                            Date


Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
page 3 of Form B1 also include this certification.
               Case 14-22759                   Doc 1
                                                  Filed 06/18/14 Entered 06/19/14 00:00:34 Desc Main
B1 (Official Form 1) (04/13)                        Document        Page 4 of 34
                                   United States Bankruptcy Court
                              Northern District of Illinois, Eastern Division              Voluntary Petition
 Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
 Claudio, Jose A Jr.
 All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
 (if more than one, state all):     3191                                                 (if more than one, state all):

 Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
 4540 W Deming Pl
 Chicago, IL
                                                       ZIPCODE 60639-1908                                                                               ZIPCODE
 County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
 Cook
 Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                        ZIPCODE                                                                                         ZIPCODE
 Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                        ZIPCODE
                    Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                   (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
   Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
   See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
   Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
   Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
   Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
   check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                              Other                                                                      (Check one box.)
                 Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
 Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
 __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
 Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
 regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
 __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                     Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                        Check one box:
   Full Filing Fee attached
                                                                          Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                          Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
   Filing Fee to be paid in installments (Applicable to individuals
   only). Must attach signed application for the court’s                Check if:
   consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
   except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                          ----------------------------------------------------------------
   Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
   only). Must attach signed application for the court’s                  A plan is being filed with this petition
   consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                          accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
    Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
    distribution to unsecured creditors.
Estimated Number of Creditors

1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                   5,000          10,000           25,000              50,000              100,000           100,000
Estimated Assets

$0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
Estimated Liabilities

$0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
             Case 14-22759               Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                                    Desc Main
B1 (Official Form 1) (04/13)                             Document     Page 5 of 34                                                                     Page 2
Voluntary Petition                                                              Name of Debtor(s):
 (This page must be completed and filed in every case)                          Claudio, Jose A Jr.

                      All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
 Location                                                                       Case Number:                              Date Filed:
 Where Filed:None
 Location                                                                       Case Number:                              Date Filed:
 Where Filed:
    Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                Case Number:                              Date Filed:
 None
 District:                                                                      Relationship:                             Judge:


                                Exhibit A                                                                            Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
 10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
 Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
 requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).


                                                                                X   /s/ Jeffrey S. Harris                                          6/18/14
                                                                                    Signature of Attorney for Debtor(s)                                 Date

                                                                        Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
     Yes, and Exhibit C is attached and made a part of this petition.
     No

                                                                        Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
           Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                   Information Regarding the Debtor - Venue
                                                               (Check any applicable box.)
         Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
         preceding the date of this petition or for a longer part of such 180 days than in any other District.
         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
         Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
         or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
         in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                           (Check all applicable boxes.)
         Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                       (Name of landlord that obtained judgment)

                                                                   (Address of landlord)
         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
         the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
         Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
         filing of the petition.
         Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
               Case 14-22759                    Doc 1       Filed 06/18/14 Entered 06/19/14 00:00:34                                             Desc Main
B1 (Official Form 1) (04/13)                                  Document     Page 6 of 34                                                                                        Page 3
Voluntary Petition                                                                     Name of Debtor(s):
 (This page must be completed and filed in every case)                                 Claudio, Jose A Jr.

                                                                                 Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
 petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
 [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
 and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
 under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                            I request relief in accordance with chapter 15 of title 11, United
 the relief available under each such chapter, and choose to proceed under
                                                                                            States Code. Certified copies of the documents required by 11 U.S.C.
 chapter 7.
                                                                                            § 1515 are attached.
 [If no attorney represents me and no bankruptcy petition preparer signs
 the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
 I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
 Code, specified in this petition.
                                                                                       X
 X   /s/ Jose A Claudio Jr.                                                                 Signature of Foreign Representative
     Signature of Debtor                                  Jose A Claudio Jr.
 X                                                                                          Printed Name of Foreign Representative
     Signature of Joint Debtor

                                                                                            Date
     Telephone Number (If not represented by attorney)

     June 18, 2014
     Date

                                 Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                       I declare under penalty of perjury that: 1) I am a bankruptcy petition
 X   /s/ Jeffrey S. Harris                                                             preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
     Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                       and the notices and information required under 11 U.S.C. §§ 110(b),
     Jeffrey S. Harris 6197483                                                         110(h) and 342(b); and 3) if rules or guidelines have been promulgated
     Law Offices of Jeffrey S Harris                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     1701 S 1st Ave Ste 202                                                            chargeable by bankruptcy petition preparers, I have given the debtor
     Maywood, IL 60153-2400                                                            notice of the maximum amount before preparing any document for filing
     (708) 343-9800 Fax: (708) 343-9803                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                                       section. Official Form 19 is attached.

                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                       Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                       Social Security number of the officer, principal, responsible person or partner of the
                                                                                       bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
     June 18, 2014
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
 certification that the attorney has no knowledge after an inquiry that the
 information in the schedules is incorrect.

             Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this              X
 petition is true and correct, and that I have been authorized to file this                 Signature
 petition on behalf of the debtor.
                                                                                            Date
 The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
 United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                       Names and Social-Security numbers of all other individuals who prepared or
 X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
     Signature of Authorized Individual                                                not an individual:

                                                                                       If more than one person prepared this document, attach additional sheets
     Printed Name of Authorized Individual
                                                                                       conforming to the appropriate official form for each person.
                                                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11
     Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                       imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
              Case 14-22759                Doc 1    Filed 06/18/14 Entered 06/19/14 00:00:34                      Desc Main
B1D (Official Form 1, Exhibit D) (12/09)              Document     Page 7 of 34
                                                  United States Bankruptcy Court
                                             Northern District of Illinois, Eastern Division

IN RE:                                                                                           Case No.
Claudio, Jose A Jr.                                                                              Chapter 7
                                              Debtor(s)

                         EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                       CREDIT COUNSELING REQUIREMENT
Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors’ collection activities.
Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
one of the five statements below and attach any documents as directed.
   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.
   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
the agency no later than 14 days after your bankruptcy case is filed.
   3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing.
  4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
motion for determination by the court.]
       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
       of realizing and making rational decisions with respect to financial responsibilities.);
       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
       participate in a credit counseling briefing in person, by telephone, or through the Internet.);
       Active military duty in a military combat zone.
   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
does not apply in this district.
I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: /s/ Jose A Claudio Jr.
Date: June 18, 2014
            CaseForm
B6 Summary (Official 14-22759
                        6 - Summary) Doc
                                     (12/13)1               Filed 06/18/14 Entered 06/19/14 00:00:34                                      Desc Main
                                                              Document     Page 8 of 34
                                                        United States Bankruptcy Court
                                                   Northern District of Illinois, Eastern Division

IN RE:                                                                                                                Case No.
Claudio, Jose A Jr.                                                                                                   Chapter 7
                                                     Debtor(s)

                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
a case under chapter 7, 11, or 13.

                                                            ATTACHED             NO. OF
 NAME OF SCHEDULE
                                                             (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


 A - Real Property                                               Yes                          1 $                  0.00



 B - Personal Property                                           Yes                          3 $           25,650.00



 C - Property Claimed as Exempt                                  Yes                          1



 D - Creditors Holding Secured Claims                            Yes                          1                           $           3,280.00


 E - Creditors Holding Unsecured Priority
                                                                 Yes                          1                           $                 0.00
     Claims (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured
                                                                 Yes                          2                           $        132,410.62
     Nonpriority Claims

 G - Executory Contracts and Unexpired
                                                                 Yes                          1
     Leases


 H - Codebtors                                                   Yes                          1


 I - Current Income of Individual
                                                                 Yes                          2                                                     $           1,844.43
     Debtor(s)

 J - Current Expenditures of Individual
                                                                 Yes                          3                                                     $           1,982.00
     Debtor(s)


                                                                 TOTAL                      16 $            25,650.00 $            135,690.62
            Case Form
B 6 Summary (Official 14-22759
                         6 - Summary)Doc
                                     (12/13)1   Filed 06/18/14 Entered 06/19/14 00:00:34                   Desc Main
                                                  Document     Page 9 of 34
                                              United States Bankruptcy Court
                                         Northern District of Illinois, Eastern Division

IN RE:                                                                                       Case No.
Claudio, Jose A Jr.                                                                          Chapter 7
                                          Debtor(s)

        STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

           Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                                                        Amount

 Domestic Support Obligations (from Schedule E)                                                    $           0.00

 Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00

 Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
 disputed or undisputed)                                                                           $           0.00

 Student Loan Obligations (from Schedule F)                                                        $           0.00

 Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
 Schedule E                                                                                        $           0.00

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                        TOTAL      $           0.00


 State the following:

 Average Income (from Schedule I, Line 12)                                                         $      1,844.43

 Average Expenses (from Schedule J, Line 22)                                                       $      1,982.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
 Line 20 )                                                                                         $      4,488.38


 State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $       280.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

 4. Total from Schedule F                                                                                             $   132,410.62

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $   132,690.62
              Case
B6A (Official Form 6A) 14-22759
                       (12/07)                Doc 1          Filed 06/18/14 Entered 06/19/14 00:00:34                                                         Desc Main
                                                              Document     Page 10 of 34
IN RE Claudio, Jose A Jr.                                                                                               Case No.
                                                           Debtor(s)                                                                                                    (If known)

                                                           SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                        HUSBAND, WIFE, JOINT,
                                                                                                                           OR COMMUNITY
                                                                                                                                                  CURRENT VALUE OF
                                                                                                                                                 DEBTOR'S INTEREST IN
                                                                                              NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                             INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                  SECURED CLAIM OR
                                                                                                                                                      EXEMPTION



None




                                                                                                                 TOTAL                                          0.00
                                                                                                                                                (Report also on Summary of Schedules)
               Case
B6B (Official Form 6B) 14-22759
                       (12/07)                   Doc 1       Filed 06/18/14 Entered 06/19/14 00:00:34                                      Desc Main
                                                              Document     Page 11 of 34
IN RE Claudio, Jose A Jr.                                                                                              Case No.
                                                           Debtor(s)                                                                                             (If known)

                                                      SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
“C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
in Schedule C - Property Claimed as Exempt.

  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

  If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                         CURRENT VALUE OF
                                                  N                                                                                                                     DEBTOR'S INTEREST IN
                                                  O                                                                                                                      PROPERTY WITHOUT
               TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                  N                                                                                                                        DEDUCTING ANY
                                                  E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                             EXEMPTION




   1. Cash on hand.                                   Cash                                                                                                                            50.00
   2. Checking, savings or other financial            Checking and Savings accounts wth Bank of America                                                                             350.00
      accounts, certificates of deposit or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.
   3. Security deposits with public utilities,        Security deposit, landlord Hector Alavaz                                                                                      500.00
      telephone companies, landlords, and
      others.
   4. Household goods and furnishings,                Miscellaneous household goods and furnishings                                                                                 750.00
      include audio, video, and computer
      equipment.
   5. Books, pictures and other art objects,      X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.
   6. Wearing apparel.                                Various typical wardrobe items                                                                                              1,000.00
   7. Furs and jewelry.                           X
   8. Firearms and sports, photographic,          X
      and other hobby equipment.
   9. Interest in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.
 10. Annuities. Itemize and name each             X
     issue.
 11. Interests in an education IRA as             X
     defined in 26 U.S.C. § 530(b)(1) or
     under a qualified State tuition plan as
     defined in 26 U.S.C. § 529(b)(1).
     Give particulars. (File separately the
     record(s) of any such interest(s). 11
     U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or               qualified 401(k) through employer                                                                                         20,000.00
     other pension or profit sharing plans.
     Give particulars.
 13. Stock and interests in incorporated          X
     and unincorporated businesses.
     Itemize.
 14. Interests in partnerships or joint           X
     ventures. Itemize.
               Case
B6B (Official Form 6B) 14-22759
                       (12/07) - Cont.          Doc 1    Filed 06/18/14 Entered 06/19/14 00:00:34                     Desc Main
                                                          Document     Page 12 of 34
IN RE Claudio, Jose A Jr.                                                                                  Case No.
                                                        Debtor(s)                                                                        (If known)

                                                     SCHEDULE B - PERSONAL PROPERTY
                                                            (Continuation Sheet)




                                                                                                                        HUSBAND, WIFE, JOINT,
                                                                                                                           OR COMMUNITY
                                                                                                                                                 CURRENT VALUE OF
                                                 N                                                                                              DEBTOR'S INTEREST IN
                                                 O                                                                                               PROPERTY WITHOUT
              TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                 N                                                                                                 DEDUCTING ANY
                                                 E                                                                                               SECURED CLAIM OR
                                                                                                                                                     EXEMPTION




 15. Government and corporate bonds and          X
     other negotiable and non-negotiable
     instruments.
 16. Accounts receivable.                        X
 17. Alimony, maintenance, support, and          X
     property settlements in which the
     debtor is or may be entitled. Give
     particulars.
 18. Other liquidated debts owed to debtor       X
     including tax refunds. Give
     particulars.
 19. Equitable or future interest, life          X
     estates, and rights or powers
     exercisable for the benefit of the
     debtor other than those listed in
     Schedule A - Real Property.
 20. Contingent and noncontingent                X
     interests in estate of a decedent, death
     benefit plan, life insurance policy, or
     trust.
 21. Other contingent and unliquidated           X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other              X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other             X
     general intangibles. Give particulars.
 24. Customer lists or other compilations        X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with
     obtaining a product or service from
     the debtor primarily for personal,
     family, or household purposes.
 25. Automobiles, trucks, trailers, and              2006 TOYOTA Tacoma-4 Cyl. Base 2WD                                                                   3,000.00
     other vehicles and accessories.                 2006 Toyota Takoma Automobile
 26. Boats, motors, and accessories.             X
 27. Aircraft and accessories.                   X
 28. Office equipment, furnishings, and          X
     supplies.
 29. Machinery, fixtures, equipment, and         X
     supplies used in business.
 30. Inventory.                                  X
 31. Animals.                                    X
 32. Crops - growing or harvested. Give          X
     particulars.
 33. Farming equipment and implements.           X
 34. Farm supplies, chemicals, and feed.         X
               Case
B6B (Official Form 6B) 14-22759
                       (12/07) - Cont.     Doc 1    Filed 06/18/14 Entered 06/19/14 00:00:34                          Desc Main
                                                     Document     Page 13 of 34
IN RE Claudio, Jose A Jr.                                                                             Case No.
                                                   Debtor(s)                                                                                (If known)

                                                SCHEDULE B - PERSONAL PROPERTY
                                                       (Continuation Sheet)




                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                              OR COMMUNITY
                                                                                                                                                    CURRENT VALUE OF
                                            N                                                                                                      DEBTOR'S INTEREST IN
                                            O                                                                                                       PROPERTY WITHOUT
             TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                            N                                                                                                         DEDUCTING ANY
                                            E                                                                                                       SECURED CLAIM OR
                                                                                                                                                        EXEMPTION




 35. Other personal property of any kind    X
     not already listed. Itemize.




                                                                                                                     TOTAL                                 25,650.00
                                                                                                (Include amounts from any continuation sheets attached.
        0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
              Case
B6C (Official Form 6C) 14-22759
                       (04/13)                Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                                Desc Main
                                                             Document     Page 14 of 34
IN RE Claudio, Jose A Jr.                                                                                        Case No.
                                                          Debtor(s)                                                                          (If known)

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
(Check one box)
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)

                                                                                                                                                 CURRENT VALUE
                                                                                                                       VALUE OF CLAIMED           OF PROPERTY
                  DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                          EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                  EXEMPTIONS

SCHEDULE B - PERSONAL PROPERTY
Cash                                                         735 ILCS 5 §12-1001(b)                                                  50.00                     50.00
Checking and Savings accounts wth Bank                       735 ILCS 5 §12-1001(b)                                                350.00                     350.00
of America
Security deposit, landlord Hector Alavaz                     735 ILCS 5 §12-1001(b)                                                500.00                     500.00
Miscellaneous household goods and                            735 ILCS 5 §12-1001(b)                                                750.00                     750.00
furnishings
Various typical wardrobe items                               735 ILCS 5 §12-1001(a)                                              1,000.00                  1,000.00
qualified 401(k) through employer                            735 ILCS 5 §12-1006(a)                                            20,000.00                  20,000.00
2006 TOYOTA Tacoma-4 Cyl. Base 2WD                           735 ILCS 5 §12-1001(c)                                              2,400.00                  3,000.00
2006 Toyota Takoma Automobile                                735 ILCS 5 §12-1001(b)                                                600.00




* Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case
B6D (Official Form 6D) 14-22759
                       (12/07)                 Doc 1                  Filed 06/18/14 Entered 06/19/14 00:00:34                                                                                Desc Main
                                                                       Document     Page 15 of 34
IN RE Claudio, Jose A Jr.                                                                                                                  Case No.
                                                            Debtor(s)                                                                                                                                      (If known)

                                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
   State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests.
  List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
will not fit on this page, use the continuation sheet provided.
  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
   If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.

    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                      HUSBAND, WIFE, JOINT,
                                                                         OR COMMUNITY




                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                  CONTINGENT
                                                           CODEBTOR




                                                                                                                                                                                            AMOUNT OF




                                                                                                                                                                              DISPUTED
         CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                    UNSECURED
       INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                  PORTION, IF ANY
                  (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                           COLLATERAL




ACCOUNT NO. 5019                                                                              2006 Toyota Tacoma                                                                                 3,280.00                    280.00
Horizon Bank
515 Franklin St
Michigan City, IN 46360-3328

                                                                                              VALUE $ 3,000.00

ACCOUNT NO.




                                                                                              VALUE $

ACCOUNT NO.




                                                                                              VALUE $

ACCOUNT NO.




                                                                                              VALUE $
                                                                                                                                                  Subtotal
       0 continuation sheets attached                                                                                                 (Total of this page) $                                     3,280.00 $                  280.00
                                                                                                                                                     Total
                                                                                                                                   (Use only on last page) $                                     3,280.00 $                  280.00
                                                                                                                                                                                         (Report also on         (If applicable, report
                                                                                                                                                                                         Summary of              also on Statistical
                                                                                                                                                                                         Schedules.)             Summary of Certain
                                                                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                                                                 Data.)
               Case
B6E (Official Form 6E) 14-22759
                       (04/13)                  Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                                          Desc Main
                                                               Document     Page 16 of 34
IN RE Claudio, Jose A Jr.                                                                                                 Case No.
                                                            Debtor(s)                                                                                   (If known)

                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
"Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

  Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
Statistical Summary of Certain Liabilities and Related Data.

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data.

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
     responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
     U.S.C. § 507(a)(1).
     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(7).
     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
     a drug, or another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

       0 continuation sheets attached
               Case
B6F (Official Form     14-22759
                   6F) (12/07)                 Doc 1          Filed 06/18/14 Entered 06/19/14 00:00:34                                                          Desc Main
                                                               Document     Page 17 of 34
IN RE Claudio, Jose A Jr.                                                                                                                     Case No.
                                                            Debtor(s)                                                                                                              (If known)

                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

   If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

  Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                             HUSBAND, WIFE, JOINT,
                                                                                OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                                                                  CODEBTOR




                                                                                                                                                                                                  DISPUTED
              CREDITOR'S NAME, MAILING ADDRESS                                                                       DATE CLAIM WAS INCURRED AND                                                             AMOUNT
          INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                  CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                     (See Instructions Above.)                                                                         SUBJECT TO SETOFF, SO STATE                                                            CLAIM




ACCOUNT NO. 3875                                                                                     first mortgage on home that was foreclosed
Bank of America
PO Box 650070
Dallas, TX 75265-0070

                                                                                                                                                                                                             87,123.00
ACCOUNT NO. 3191                                                                                     credit card
Capital One
PO Box 85520
Richmond, VA 23285-5520

                                                                                                                                                                                                                404.00
ACCOUNT NO.                                                                                          cable service
Comcast
c/o Convergent Outsourcing
800 SW 39th St
Renton, WA 98057-4975
                                                                                                                                                                                                                117.00
ACCOUNT NO. 3191                                                                                     credit cards
First Premier Bank
601 S Minnesota Ave
Sioux Falls, SD 57104-4824

                                                                                                                                                                                                                237.00
                                                                                                                                                                      Subtotal
       1 continuation sheets attached                                                                                                                     (Total of this page) $                             87,881.00
                                                                                                                                                                         Total
                                                                                                            (Use only on last page of the completed Schedule F. Report also on
                                                                                                                the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                             Summary of Certain Liabilities and Related Data.) $
               Case
B6F (Official Form     14-22759
                   6F) (12/07) - Cont.       Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                                                           Desc Main
                                                            Document     Page 18 of 34
IN RE Claudio, Jose A Jr.                                                                                                                   Case No.
                                                         Debtor(s)                                                                                                               (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT,
                                                                              OR COMMUNITY




                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                    CONTINGENT
                                                                CODEBTOR




                                                                                                                                                                                                DISPUTED
             CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                             AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                    (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                            CLAIM




ACCOUNT NO. 3588                                                                                   Second mortgage on house foreclosed
Franklin Credit Management                                                                         2011
101 Hudson St
Jersey City, NJ 07302-3915

                                                                                                                                                                                                           21,624.00
ACCOUNT NO. 3191                                                                                   credit card
One Bank NA                                                                                        2012
PO Box 98875
Las Vegas, NV 89193-8875

                                                                                                                                                                                                            1,281.00
ACCOUNT NO.                                                                                        lawsuit for breach of contract, 2014 M1 101212
Quarry Mortgage Trust III
c/o Smith Amundsen LLC
3815 E Main St Ste A-1
Saint Charles, IL 60174-2488
                                                                                                                                                                                                           21,624.62
ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




Sheet no.       1 of        1 continuation sheets attached to                                                                                                       Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             44,529.62
                                                                                                                                                                       Total
                                                                                                          (Use only on last page of the completed Schedule F. Report also on
                                                                                                              the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                           Summary of Certain Liabilities and Related Data.) $ 132,410.62
              Case
B6G (Official Form 6G)14-22759
                      (12/07)                  Doc 1          Filed 06/18/14 Entered 06/19/14 00:00:34                                         Desc Main
                                                               Document     Page 19 of 34
IN RE Claudio, Jose A Jr.                                                                                                 Case No.
                                                            Debtor(s)                                                                                  (If known)

                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                   NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                    STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                      OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                      STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
              Case
B6H (Official Form 6H)14-22759
                      (12/07)                   Doc 1          Filed 06/18/14 Entered 06/19/14 00:00:34                                         Desc Main
                                                                Document     Page 20 of 34
IN RE Claudio, Jose A Jr.                                                                                                  Case No.
                                                             Debtor(s)                                                                                   (If known)

                                                                SCHEDULE H - CODEBTORS
   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.

                           NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
                   Case 14-22759                Doc 1          Filed 06/18/14 Entered 06/19/14 00:00:34                                     Desc Main
                                                                Document     Page 21 of 34
              Claudio, Jose A Jr.
 Fill in this information to identify your case:


 Debtor 1          Jose
                   ___    A_____
                       ____ Claudio    Jr.
                                 _______ ____ _____ ______ ____ ____________ ____ ______ ____ ____
                     F irst Name                Middle Name                  Last Name

 Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
 (Spouse, if filing) F irst Name                Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Illinois, Eastern Division

 Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                        Check if this is:
     (If known)
                                                                                                                    An amended filing
                                                                                                                    A supplement showing post-petition
                                                                                                                    chapter 13 income as of the following date:
                                                                                                                    ________________
Official Form 6I                                                                                                    MM / DD / YYYY


Schedule I: Your Income                                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1.    Fill in your employment
      information.                                                                Debtor 1                                          Debtor 2 or non-filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional          Employment status                      Employed                                           Employed
       employers.                                                                   Not employed                                       Not employed
       Include part-time, seasonal, or
       self-employed work.
                                             Occupation                       Shipper
                                                                              __________________________________                __________________________________
       Occupation may Include student
       or homemaker, if it applies.
                                             Employer’s name                  Triangle Package Machinery
                                                                              __________________________________                __________________________________


                                             Employer’s address              6655
                                                                             __ ____W Diversey
                                                                                    _______       Ave_____ ______ ____ __
                                                                                            _____ ____                         ___ _______ ____ _____ __________ _____ ______
                                                                               Number      Street                                Number     Street

                                                                             __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                             ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____

                                                                             Chicago,
                                                                             __ ____ _____IL  60707-2239
                                                                                           ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                               Cit y              State   ZIP Code               City                    State ZIP Code

                                             How long employed there?              9_______
                                                                                     months                                      _______

 Part 2:           Give Details About Monthly Income

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
       spouse unless you are separated.
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                           For Debtor 1          For Debtor 2 or
                                                                                                                                 non-filing spouse
 2.     List monthly gross wages, salary, and commissions (before all payroll
        deductions). If not paid monthly, calculate what the monthly wage would be.                 2.
                                                                                                             4,488.38
                                                                                                          $___________              $____________

 3.     Estimate and list monthly overtime pay.                                                     3.   + $___________         +   $____________


 4.     Calculate gross income. Add line 2 + line 3.                                                4.       4,488.38
                                                                                                          $__________               $____________



Official Form 6I                                                         Schedule I: Your Income                                                                page 1
                    Case 14-22759                         Doc 1             Filed 06/18/14 Entered 06/19/14 00:00:34                                             Desc Main
                                                                             Document     Page 22 of 34
Debtor 1             Jose
                    ___     A Claudio
                        _______ ____ _____Jr.
                                           ______ _____ ____ _______ ____ _____ _____                                         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                    First Name          Middle Name                Last Name



                                                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                                                     non-filing spouse

      Copy line 4 here ............................................................................................   4.          4,488.38
                                                                                                                              $___________               $_____________

5.    List all payroll deductions:

       5a. Tax, Medicare, and Social Security deductions                                                              5a.         1,038.97
                                                                                                                             $____________              $_____________
       5b. Mandatory contributions for retirement plans                                                               5b.    $____________              $_____________
       5c. Voluntary contributions for retirement plans                                                               5c.          493.39
                                                                                                                             $____________              $_____________
       5d. Required repayments of retirement fund loans                                                               5d.          801.06
                                                                                                                             $____________              $_____________
       5e. Insurance                                                                                                  5e.          228.41
                                                                                                                             $____________              $_____________
       5f. Domestic support obligations                                                                               5f.    $____________              $_____________

       5g. Union dues                                                                                                 5g.           82.12
                                                                                                                             $____________              $_____________

       5h. Other deductions. Specify: __________________________________                                              5h.   + $____________         +   $_____________

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.          2,643.95
                                                                                                                             $____________              $_____________

 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          1,844.43
                                                                                                                             $____________              $_____________


 8.   List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                                     0.00
                                                                                                                             $____________              $_____________
           monthly net income.                                                                                        8a.
        8b. Interest and dividends                                                                                    8b.    $____________              $_____________
       8c. Family support payments that you, a non-filing spouse, or a dependent
           regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                             $____________              $_____________
           settlement, and property settlement.                                  8c.
       8d. Unemployment compensation                                                                                  8d.    $____________              $_____________
       8e. Social Security                                                                                            8e.    $____________              $_____________
        8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental                                           $____________              $_____________
            Nutrition Assistance Program) or housing subsidies.
            Specify: ___________________________________________________ 8f.

        8g. Pension or retirement income                                                                              8g.    $____________              $_____________

        8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________           + $_____________
 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.            0.00
                                                                                                                             $____________              $_____________

10. Calculate  monthly income. Add line 7 + line 9.
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                 1,844.43
                                                                                                                             $___________       +        $_____________ = $_____________
                                                                                                                                                                               1,844.43

11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents , your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                            11. + $_____________

12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        1,844.43
                                                                                                                                                                                  $_____________
                                                                                                                                                                                  Combined
                                                                                                                                                                                  monthly income
 13. Do     you expect an increase or decrease within the year after you file this form?
            No.
                           None
            Yes. Explain:


  Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                      Case 14-22759                  Doc 1          Filed 06/18/14 Entered 06/19/14 00:00:34                                     Desc Main
                                                                     Document     Page 23 of 34
                Claudio, Jose A Jr.
     Fill in this information to identify your case:

     Debtor 1           Jose
                       ___     A Claudio
                           _______ ____ _____Jr.
                                             ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                        First Name                   Middle Name                  Last Name                          Check if this is:
     Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
     (Spouse, if filing) First Name                  Middle Name                  Last Name
                                                                                                                         An amended filing
                                                                                                                         A supplement showing post-petition chapter 13
     United Sta tes Bankruptcy Court for th e: Northern District of Illinois, Eastern Division                           expenses as of the following date:
                                                                                                                         ________________
     Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                              MM / DD / YYYY
      (If known)
                                                                                                                         A separate filing for Debtor 2 because Debtor 2
                                                                                                                         maintains a separate household
Official Form 6J
Schedule J: Your Expenses                                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:               Describe Your Household

1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                        No
                        Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                          No                                        Dependent’s relations hip to              De pendent’s   Does d epe ndent live
      Do not list Debtor 1 and                         Yes. Fill out this information for Debtor 1 or Debtor 2                             age            with you?
      Debtor 2.                                        each dependent..........................
                                                                                                                                                              No
      Do not state the dependents’                                                               _________________________                 ________
      names.                                                                                                                                                  Yes

                                                                                                 _________________________                 ________           No
                                                                                                                                                              Yes

                                                                                                 _________________________                 ________           No
                                                                                                                                                              Yes

                                                                                                 _________________________                 ________           No
                                                                                                                                                              Yes

                                                                                                 _________________________                 ________           No
                                                                                                                                                              Yes

3.    Do your expenses include
                                                       No
      expenses of people other than
      yourself and your dependents?                    Yes

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                           Your expenses

 4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
        any rent for the ground or lot.                                                                                              4.
                                                                                                                                                    500.00
                                                                                                                                             $_____________________

        If not included in line 4:
        4a.    Real estate taxes                                                                                                     4a.     $_____________________
        4b.    Property, homeowner’s, or renter’s insurance                                                                          4b.     $_____________________
        4c.    Home maintenance, repair, and upkeep expenses                                                                         4c.     $_____________________

        4d.    Homeowner’s association or condominium dues                                                                           4d.     $_____________________

     Official Form 6J                                                   Schedule J: Your Expenses                                                               page 1
                     Case 14-22759                Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                           Desc Main
                                                                 Document     Page 24 of 34
 Debtor 1            Jose
                     ___    A Claudio
                         _______          Jr.
                                 ____ _____ ______ _____ ____ _______ ____ _____ _____          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                     First Name     Middle Name         Last Name




                                                                                                                                Your expenses

                                                                                                                               $_____________________
 5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


 6.    Utilities:
        6a.     Electricity, heat, natural gas                                                                         6a.     $_____________________
        6b.     Water, sewer, garbage collection                                                                       6b.     $_____________________
        6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            135.00
                                                                                                                               $_____________________

        6d.     Other. Specify: _______________________________________________                                        6d.     $_____________________

 7.    Food and housekeeping supplies                                                                                  7.             450.00
                                                                                                                               $_____________________

 8.    Childcare and children’s education costs                                                                        8.      $_____________________
 9.    Clothing, laundry, and dry cleaning                                                                             9.             100.00
                                                                                                                               $_____________________
10.    Personal care products and services                                                                             10.     $_____________________
11.    Medical and dental expenses                                                                                     11.            25.00
                                                                                                                               $_____________________

12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                      280.00
                                                                                                                               $_____________________
       Do not include car payments.                                                                                    12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.     $_____________________
14.     Charitable contributions and religious donations                                                               14.     $_____________________

15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a .   Life insurance                                                                                         15a .   $_____________________
        15b .   Health insurance                                                                                       15b .   $_____________________
        15c.    Vehicle insurance                                                                                      15c.    $_____________________
        15d .   Other insurance. Specify:_______________________________________                                       15d .   $_____________________

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                               $_____________________
        Specify: ________________________________________________________                                              16.


17.    Installment or lease payments:

        17a .   Car payments for Vehicle 1                                                                             17a.           492.00
                                                                                                                               $_____________________

        17b .   Car payments for Vehicle 2                                                                             17b .   $_____________________

        17 c.   Other. Specify:_________________________________
                                                               ______________                                          17c.    $_____________________

        17 d.   Other. Specify:_________________________________
                                                               ______________                                          17d .   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
                                                                                                                               $_____________________
       your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


19.    Other payments you make to support others who do not live with you.                                                     $_____________________
       Specify:_______________________________________________________                                                  19.

20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a .   Mortgages on other property                                                                           20 a.    $_____________________

        20b .   Real estate taxes                                                                                     20b .    $_____________________

        20c.    Property, homeowner’s, or renter’s insurance                                                          20c.     $_____________________

        20d .   Maintenance, repair, and upkeep expenses                                                              20d .    $_____________________

        20e .   Homeowner’s association or condominium dues                                                           20e .    $_____________________



      Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                  Case 14-22759                Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                             Desc Main
                                                              Document     Page 25 of 34
 Debtor 1          Jose
                  ___     A Claudio
                      _______ ____ _____Jr.
                                         ______ _____ ____ _______ ____ _____ _____            Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                  First Name     Middle Name         Last Name




21.     Other. Specify: _________________________________________________                                            21 .   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                   1,982.00
                                                                                                                              $_____________________
       The result is your monthly expenses.                                                                          22 .




23.   Calculate your monthly net income.
                                                                                                                                    1,844.43
                                                                                                                               $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

      23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                    1,982.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                     -137.57
                                                                                                                               $_____________________
             The result is your monthly net income.                                                                 23c.




24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes.    None




      Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
B6 DeclarationCase
              (Official14-22759          Doc(12/07)
                       Form 6 - Declaration)   1            Filed 06/18/14 Entered 06/19/14 00:00:34                                        Desc Main
                                                             Document     Page 26 of 34
IN RE Claudio, Jose A Jr.                                                                                           Case No.
                                                          Debtor(s)                                                                                    (If known)

                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      18 sheets, and that they are
true and correct to the best of my knowledge, information, and belief.


Date: June 18, 2014                                  Signature: /s/ Jose A Claudio Jr.
                                                                                                                                                                                  Debtor
                                                                  Jose A Claudio Jr.

Date:                                                Signature:
                                                                                                                                                                    (Joint Debtor, if any)
                                                                                                                          [If joint case, both spouses must sign.]

              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs the document.



Address




Signature of Bankruptcy Petition Preparer                                                                          Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:


If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
member or an authorized agent of the partnership) of the
(corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.



Date:                                                Signature:


                                                                                                                            (Print or type name of individual signing on behalf of debtor)

              [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
         Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
               Case
B7 (Official Form      14-22759
                  7) (04/13)               Doc 1        Filed 06/18/14 Entered 06/19/14 00:00:34                                Desc Main
                                                         Document     Page 27 of 34
                                                     United States Bankruptcy Court
                                                Northern District of Illinois, Eastern Division

IN RE:                                                                                                       Case No.
Claudio, Jose A Jr.                                                                                          Chapter 7
                                                 Debtor(s)

                                                  STATEMENT OF FINANCIAL AFFAIRS
   This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

  Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                        DEFINITIONS

  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

1. Income from employment or operation of business
 None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
        including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
        case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
        maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
        beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
        under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)
            AMOUNT SOURCE
            20,000.00 Approx. gross income from employment 2014 year to date
            43,809.00 Gross income from employment 2013
            44,590.00 Gross income from employment 2012

2. Income other than from employment or operation of business
 None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
        two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
        separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

3. Payments to creditors
Complete a. or b., as appropriate, and c.
 None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
        debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
        constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
        a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
        counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)
               Case 14-22759               Doc 1        Filed 06/18/14 Entered 06/19/14 00:00:34                                Desc Main
                                                         Document     Page 28 of 34
 None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
        preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
        $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
        debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)

        * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

 None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
        who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

4. Suits and administrative proceedings, executions, garnishments and attachments
 None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
        bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
        not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
AND CASE NUMBER                  NATURE OF PROCEEDING                                AND LOCATION                               DISPOSITION
Quarry Mortgage Trust v Claudio, collection                                          Cook County, IL                            pending
2014 M11 101212
 None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
        or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

5. Repossessions, foreclosures and returns
 None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
        the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

6. Assignments and receiverships
 None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and joint petition is not filed.)

 None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

7. Gifts
 None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
        gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
        per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

8. Losses
 None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

9. Payments related to debt counseling or bankruptcy
 None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
        of this case.
                                                                 DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
Law Offices of Jeffrey S Harris                                  04/03/14                                                                1,056
1701 S 1st Ave Ste 202
Maywood, IL 60153-2400
               Case 14-22759               Doc 1         Filed 06/18/14 Entered 06/19/14 00:00:34                                Desc Main
                                                          Document     Page 29 of 34
10. Other transfers
 None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
        absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

 None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
        device of which the debtor is a beneficiary.

11. Closed financial accounts
 None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
        transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
        certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
        brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

12. Safe deposit boxes
 None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
        both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

13. Setoffs
 None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
        case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)

14. Property held for another person
 None   List all property owned by another person that the debtor holds or controls.


15. Prior address of debtor
 None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
        that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

16. Spouses and Former Spouses
 None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
        Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
        identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

17. Environmental Information
For the purpose of this question, the following definitions apply:
“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.
“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.
“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

 None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
        potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
        Environmental Law.

 None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
        the governmental unit to which the notice was sent and the date of the notice.
               Case 14-22759               Doc 1        Filed 06/18/14 Entered 06/19/14 00:00:34                                Desc Main
                                                         Document     Page 30 of 34
 None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
        is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

18. Nature, location and name of business
 None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
        proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
        commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
        preceding the commencement of this case.
        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
        preceding the commencement of this case.
        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
        preceding the commencement of this case.
 None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.



Date: June 18, 2014                              Signature /s/ Jose A Claudio Jr.
                                                 of Debtor                                                                             Jose A Claudio Jr.

Date:                                            Signature
                                                 of Joint Debtor
                                                 (if any)

                                                                   0 continuation pages attached


 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
              Case 14-22759            Doc 1        Filed 06/18/14 Entered 06/19/14 00:00:34                  Desc Main
B8 (Official Form 8) (12/08)                         Document     Page 31 of 34
                                                United States Bankruptcy Court
                                           Northern District of Illinois, Eastern Division

IN RE:                                                                                        Case No.
Claudio, Jose A Jr.                                                                           Chapter 7
                                              Debtor(s)

                               CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)
 Property No. 1
 Creditor’s Name:                                                        Describe Property Securing Debt:

 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt

 Property No. 2 (if necessary)
 Creditor’s Name:                                                        Describe Property Securing Debt:

 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt
PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
additional pages if necessary.)
 Property No. 1
 Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                     Yes     No

 Property No. 2 (if necessary)
 Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                     Yes     No
      continuation sheets attached (if any)
I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.

Date:           June 18, 2014                      /s/ Jose A Claudio Jr.
                                                   Signature of Debtor

                                                   Signature of Joint Debtor
           Case 14-22759         Doc 1       Filed 06/18/14 Entered 06/19/14 00:00:34                Desc Main
                                              Document     Page 32 of 34
                                          United States Bankruptcy Court
                                     Northern District of Illinois, Eastern Division

IN RE:                                                                                Case No.
Claudio, Jose A Jr.                                                                   Chapter 7
                                       Debtor(s)

                                      VERIFICATION OF CREDITOR MATRIX
                                                                                               Number of Creditors            8

The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.


Date: June 18, 2014                     /s/ Jose A Claudio Jr.
                                        Debtor



                                        Joint Debtor
Case 14-22759   Doc 1    Filed 06/18/14 Entered 06/19/14 00:00:34   Desc Main
                          Document     Page 33 of 34




   Bank of America
   PO Box 650070
   Dallas, TX 75265-0070


   Capital One
   PO Box 85520
   Richmond, VA     23285-5520


   Comcast
   c/o Convergent Outsourcing
   800 SW 39th St
   Renton, WA 98057-4975


   First Premier Bank
   601 S Minnesota Ave
   Sioux Falls, SD 57104-4824


   Franklin Credit Management
   101 Hudson St
   Jersey City, NJ 07302-3915


   Horizon Bank
   515 Franklin St
   Michigan City, IN        46360-3328


   One Bank NA
   PO Box 98875
   Las Vegas, NV        89193-8875
Case 14-22759   Doc 1   Filed 06/18/14 Entered 06/19/14 00:00:34   Desc Main
                         Document     Page 34 of 34




   Quarry Mortgage Trust III
   c/o Smith Amundsen LLC
   3815 E Main St Ste A-1
   Saint Charles, IL 60174-2488
